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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 17-62366-CIV-COHN/SELTZER

  DUANE STARKS, JEVON KEARSE,
  LAVERANUES COLES, and LITO SHEPPARD,

         Plaintiffs,

  v.

  CHUHAK & TECSON, P.C., GARY J. STERN,
  DAVID SHINER, and JEANNE KERKSTRA,

        Defendants.
  ________________________________________/

             STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiffs, by and through undersigned counsel, hereby gives notice to this Court that claims

  by and between the Plaintiff and Defendants have been settled and pursuant to Rule 41(a)(2)

  Federal Rules of Civil Procedure, and these parties hereby give notice of their dismissal, with

  prejudice, each party to bear its own attorneys’ fees and costs. The effectiveness of this dismissal

  shall be conditioned upon an Order of this Court retaining jurisdiction over the matter to enforce

  the settlement agreement.

  Dated: May 9, 2019                                   Respectfully Submitted,

                                                       WAGNER LEGAL
                                                       Counsel for Plaintiffs
                                                       3050 Biscayne Blvd., Suite 904
                                                       Miami, Florida 33137
                                                       Telephone: (305) 768-9247
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                                                       By: /s/ Scott A. Wagner
                                                            Scott A. Wagner
                                                            Fla. Bar. No. 10244
                                                            sw@wagnerlegalco.com
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                                 CERTIFICATE OF SERVICE

          I Hereby CERTIFY that on this 9th day of May 2019, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record.




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